                                  IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                        CRIMINAL MINUTES:,1,7,$/$33($5$1&($1'$55$,*10(17

   USA vs    Kirk Estes                                    Date: August 14, 2020

   Case No. 2:20-CR-63(11)                     Time 10:09 a.m.        to 10:27 a.m.
   ===========================================================================
               Honorable &<17+,$5,&+$5'621:<5,&. U.S.0DJLVWUDWHJudge, Presiding

    Leah Kingry                                DCR                                           J. Christian Lampe
      Deputy Clerk                 Court Reporter                Asst. U.S. Attorney
   ============================================================================
   DEFENDANT                                                  DEFENSE ATTORNEY
    Kirk Estes                                                                         Helen Nicole Himebaugh



   PROCEEDINGS:                 $UUHVW'DWH 8/13/2020
✔ 'HIHQGDQWVZRUQ'HIHQGDQWIRXQGFRPSHWHQW
                   ✔
✔ 'HIHQGDQWVDGYLVHGRIFKDUJHVSHQDOWLHVDQGULJKWV

✔ &RS\RILQGLFWPHQWSURYLGHGWRGHIHQGDQWRUFRXQVHOE\ AUSA
✔ )LQDQFLDODIILGDYLWH[HFXWHG'HIHQGDQWVIRXQGLQGLJHQW
                                ✔

✔ &RXQVHOSUHVHQWDQGDSSRLQWHG&RXQVHOWREHDSSRLQWHG&RXQVHOWREHUHWDLQHG
✔ 3OHDRIQRWJXLOW\WRDOOFKDUJHV
    $JUHHPHQWRIJRYHUQPHQWFRXQVHOWRFRQGLWLRQVRIUHOHDVH

    %RQGDQG&RQGLWLRQVRISUHWULDOUHOHDVHVHW

    'HIHQGDQWVDGYLVHGRISHQDOWLHVIRUYLRODWLRQVRISUHWULDOUHOHDVH

✔ 2UDOPRWLRQE\86$IRUGHWHQWLRQ           'HWHQWLRQKHDULQJZDLYHGZLWKULJKWWRKHDULQJUHVHUYHG

✔ 'HWHQWLRQ+HDULQJVFKHGXOHGTuesday, August 18, 2020 at 10:00 a.m.
✔ 'HIHQGDQWUHPDQGHGWRFXVWRG\RI860DUVKDO'HIHQGDQWUHOHDVHGRQERQG

✔ 2UGHUVWRHQWHU


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